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                                                                               Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS

                                    Case No. ________________

DEBORAH LAUFER, individually,

       Plaintiff,

v.

CHAMPAIGN HOTEL VENTURES, LLC,
d/b/a Comfort Inn & Suites Lincoln

      Defendant.
_______________________________________/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, individually, on her behalf and on behalf of all other

individuals similarly situated (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

CHAMPAIGN HOTEL VENTURES, LLC d/b/a Comfort Inn & Suites Lincoln (sometimes referred

to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

       1.      Plaintiff is a resident of Alachua County, Florida, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

activity of walking more than a few steps without assistive devices. Instead, Plaintiff is bound to

ambulate in a wheelchair or with a cane or other support and has limited use of her hands. She is

unable to tightly grasp, twist the wrist, and pinch to operate. Plaintiff is also vision impaired. When

ambulating beyond the comfort of her own home, Plaintiff must primarily rely on a wheelchair.

Plaintiff requires accessible handicap parking spaces located closest to the entrances of a facility.

The handicap and access aisles must be of sufficient width so that she can embark and disembark


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from a ramp into her vehicle. Routes connecting the handicap spaces and all features, goods and

services of a facility must be level, properly sloped, sufficiently wide and without cracks, holes or

other hazards that can pose a danger of tipping, catching wheels or falling. These areas must be free

of obstructions or unsecured carpeting that make passage either more difficult or impossible.

Amenities must be sufficiently lowered so that Plaintiff can reach them. She has difficulty operating

door knobs, sink faucets, or other operating mechanisms that require tight grasping, twisting of the

wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a danger of

scraping or burning her legs. Sinks must be at the proper height so that she can put her legs

underneath to wash her hands. She requires grab bars both behind and beside a commode so that she

can safely transfer and she has difficulty reaching the flush control if it is on the wrong side. She has

difficulty getting through doorways if they lack the proper clearance.

        2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

"tester" for the purpose of asserting her civil rights and monitoring, ensuring, and determining

whether places of public accommodation and their websites are in compliance with the ADA.

        3.      Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

place of public accommodation that the Defendant owns, leases, leases to, or operates is a place of

lodging known as Comfort Inn & Suites, located at 130 Olson Drive, Lincoln, IL, and is located in

the County of Logan (hereinafter "Property").

        4.      Venue is properly located in the Central District of Illinois because the injury

occurred in this district.




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       5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

jurisdiction over actions which arise from the Defendant’s violations of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

       6.      As the owner, lessor, lessee, or operator of the subject place of lodging, Defendant is

required to comply with the ADA. As such, Defendant is required to ensure that its place of lodging

is in compliance with the standards applicable to places of public accommodation, as set forth in the

regulations promulgated by the Department of Justice. Said regulations are set forth in the Code of

Federal Regulations, the Americans with Disabilities Act Architectural Guidelines ("ADAAGs"),

and the 2010 ADA Standards, incorporated by reference into the ADA. These regulations impose

requirements pertaining to places of public accommodation, including places of lodging, to ensure

that they are accessible to disabled individuals.

       7.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirement:

       Reservations made by places of lodging. A public accommodation that owns, leases (or
       leases to), or operates a place of lodging shall, with respect to reservations made by any
       means, including by telephone, in-person, or through a third party -
               (i) Modify its policies, practices, or procedures to ensure that individuals with
               disabilities can make reservations for accessible guest rooms during the same hours
               and in the same manner as individuals who do not need accessible rooms;
               (ii) Identify and describe accessible features in the hotels and guest rooms offered
               through its reservations service in enough detail to reasonably permit individuals with
               disabilities to assess independently whether a given hotel or guest room meets his or
               her accessibility needs;
               (iii) Ensure that accessible guest rooms are held for use by individuals with
               disabilities until all other guest rooms of that type have been rented and the accessible
               room requested is the only remaining room of that type;
               (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
               and ensure that the guest rooms requested are blocked and removed from all
               reservations systems; and
               (v) Guarantee that the specific accessible guest room reserved through its reservations
               service is held for the reserving customer, regardless of whether a specific room is
               held in response to reservations made by others.


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These regulations became effective March 15, 2012.

       8.      Defendant, either itself or by and through a third party, implemented, operates,

controls and/or maintains websites for the Property which contain an online reservations system.

This term also includes all other websites owned and operated by Defendant or by third parties to

book or reserve guest accommodations at the hotel. These websites are located at:

www.expedia.com; www.booking.com; www.orbitz.com and www.trip.com. The purpose of these

websites is so that members of the public may reserve guest accommodations and review

information pertaining to the goods, services, features, facilities, benefits, advantages, and

accommodations of the Property. As such, these websites are subject to the requirements of 28

C.F.R. Section 36.302(e). The Defendant has failed to provide the third party providers with the

information required for their websites to identify or allow for booking of accessible rooms or to

post sufficient information regarding accessibility at the hotel in violation of 28 C.F.R.

36.302(e)(1)(ii).

       9.      Prior to the commencement of this lawsuit, Plaintiff visited the websites on July 1,

2020, for the purpose of reviewing and assessing the accessible features at the Property and to

ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her accessibility

needs. However, Plaintiff was unable to do so because Defendant failed to comply with the

requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the same

goods, services, features, facilities, benefits, advantages, and accommodations of the Property

available to the general public. Specifically, the websites do not identify accessible rooms, do not

allow for booking of accessible rooms and did not have sufficient information (such as the

availability of a roll-in shower, whether there are accessible entrances to the hotel, an accessible path

to the accessible rooms, etc.) other than non-descript statements such as “facilities for disabled


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guests,” “accesible rooms,” or “in-room accessiblity.” Additionally, the websites do not allow for

booking of accessible rooms.

        10.     Plaintiff intends to continue to revisit Defendant's websites and/or online reservations

system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this respect, Plaintiff

maintains a system to ensure that she revisits the online reservations system of every hotel she sues.

By this system, Plaintiff maintains a list of all hotels she has sued with several columns following

each. She continually updates this list by, among other things, entering the dates she did visit and

plans to again visit the hotel’s online reservations system. With respect to each hotel, she visits the

online reservations system multiple times prior to the complaint being filed, then visits again shortly

after the complaint is filed. Once a judgment is obtained or a settlement agreement reached, she

records the date by which the hotel’s online reservations system must be compliant and revisits when

that date arrives.

        11.     Plaintiff has revisited the websites and encountered the same conditions described

above. Plaintiff is continuously aware that the subject websites remain non-compliant and that it

would be a futile gesture to revisit the websites as long as those violations exist unless she is willing

to suffer additional discrimination.

        12.     The violations present at Defendant's websites infringe Plaintiff's right to travel free

of discrimination and deprive her of the information required to make meaningful choices for travel.

Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of the

discriminatory conditions present at Defendant's website. By continuing to operate the websites with

discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and segregation and

deprives Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges and/or

accommodations available to the general public. By encountering the discriminatory conditions at


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Defendant's websites, and knowing that it would be a futile gesture to return to the websites unless

she is willing to endure additional discrimination, Plaintiff is deprived of the same advantages,

privileges, goods, services and benefits readily available to the general public. By maintaining

websites with violations, Defendant deprives Plaintiff the equality of opportunity offered to the

general public. Defendant's online reservations system serves as a gateway to its hotel. Because this

online reservations system discriminates against Plaintiff, it is thereby more difficult to book a room

at the hotel or make an informed decision as to whether the facilities at the hotel are accessible.

          13.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

of the Defendant’s discrimination until the Defendant is compelled to modify its websites to comply

with the requirements of the ADA and to continually monitor and ensure that the subject websites

remain in compliance.

          14.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

the Defendant’s non-compliance with the ADA with respect to these websites. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in violation of

the ADA by the Defendant.

          15.   The Defendant has discriminated against the Plaintiff by denying her access to, and

full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject websites

          16.   The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as requested

herein.

          17.   Defendant has discriminated against the Plaintiff by denying her access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of


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its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302(e). Furthermore, the Defendant continues to discriminate against the Plaintiff,

and all those similarly situated by failing to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities; and by failing to take such

efforts that may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the absence of

auxiliary aids and services.

       18.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

       19.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter the subject websites to make

them readily accessible and useable to the Plaintiff and all other persons with disabilities as defined

by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such time as the

Defendant cures its violations of the ADA.

       WHEREFORE, Plaintiff respectfully requests:

               a.      The Court issue a Declaratory Judgment that determines that the Defendant

               at the commencement of the subject lawsuit is in violation of Title III of the

               Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section

               36.302(e).

               b.      Injunctive relief against the Defendant including an order to revise its

               websites to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to


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monitor and maintain the websites to ensure that they remain in compliance with said

requirement.

c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42

U.S.C. § 12205.

d.     Such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans with Disabilities Act.

                              Respectfully Submitted,

                              Attorneys for Plaintiff

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